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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

  CLARENCE D. JOHNSON,

                       Plaintiff,

  v.                                                Case No: 6:21-cv-1453-RBD-LRH

  UNITED NATIONS
  HEADQUARTERS, CHICAGO
  HOUSING AUTHORITY, BEL RAY
  HOUSING, CDC DIRECTOR, BILL
  GATES FOUNDATION and
  WARREN BUFFETT,

                       Defendants.


                            REPORT AND RECOMMENDATION
  TO THE UNITED STATES DISTRICT COURT:

           This matter comes before the Court following a review of the file. Plaintiff

  Clarence D. Johnson, appearing pro se, commenced this action against the above-

  named Defendants on September 7, 2021. Doc. No. 1. Plaintiff did not submit the

  filing fee with his complaint, nor did he file a motion to proceed in forma pauperis.

  Accordingly, I issued an Order requiring that, on or before September 23, 2021,

  Plaintiff pay the filing fee in full or file a motion to proceed in forma pauperis. Doc.

  No. 2.
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        Plaintiff failed to comply with that deadline. Accordingly, on September 24,

  2021, I issued an Order to Show Cause directing Plaintiff to show cause in writing

  on or before October 8, 2021 why this case should not be dismissed for failure to

  prosecute. Doc. No. 5. In that Order, I cautioned Plaintiff that failure to comply

  with the October 8, 2021 deadline would result in a recommendation that the case

  be dismissed without further notice. Id. at 2. To date, Plaintiff has not filed a

  response to the Order to Show cause (nor has he paid the filing fee or filed a motion

  to proceed in forma pauperis), and the deadline for doing so has passed.

        Accordingly, based on the foregoing, I respectfully RECOMMEND that this

  case be DISMISSED without prejudice. See Local Rule 3.10.

                                NOTICE TO PARTIES

          A party has fourteen days from the date the Report and Recommendation is

  served to serve and file written objections to the Report and Recommendation’s

  factual findings and legal conclusions. Failure to serve written objections waives

  that party’s right to challenge on appeal any unobjected-to factual finding or legal

  conclusion the district judge adopts from the Report and Recommendation.

  11th Cir. R. 3-1.




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        Recommended in Orlando, Florida on October 13, 2021.




  Copies furnished to:

  Presiding District Judge
  Counsel of Record
  Unrepresented Party




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